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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
RICHARD DIAZ,

                                Petitioner,

         -v-
                                                          CIVIL ACTION NO.: 20 Civ. 154 (ER) (SLC)
SUPERINTENDENT THOMS,
                                                                         ORDER
                                Respondent.


SARAH L. CAVE, United States Magistrate Judge.

         The Court is in receipt of Respondent’s letter regarding Petitioner’s recent NYCPL § 440

motion filed with the Supreme Court, Bronx County, New York. (ECF No. 25).

         If he wishes, by January 4, 2021 Plaintiff may file a response to Respondent’s letter,

addressing how his § 440 motion affects his habeas petition.

         The Clerk of Court is respectfully directed to mail a copy of this Order to Petitioner at the

below address.


Dated:          New York, New York
                November 4, 2020

                                                       SO ORDERED



                                                       _________________________
                                                       SARAH L. CAVE
                                                       United States Magistrate Judge

Mail To:        Richard Diaz
                15-A-4868
                Five Points C.F.
                P.O. Box 119
                Romulus, NY 14541
